
The decision was affirmed on Oct. 26, 1874, by the Supreme Court in the following opinion:
Per Curiam.
Certainly commercial paper may be negotiated until it is fully due and not paid. There is no reason why a negotiable note may not be negotiated three hours before the closing of business upon the last day of grace, as well as three days before. The question is not upon the fact as a circumstance, with others as evidence of unfairness in the negotiation; but upon the right to negotiate. This right we think is clear.
The assignment of the stock in the so-called bank, more properly unincorporated joint stock association, by Metzgar to Dilsworth, was not the subject of a set-ofl. Admitting that the refusal of the corporation to admit Dilworth as a partner gave him no right as a partner, yet the assignment of the stock ca rried with it only a right to a share of the profits of the partnership, and so much capital as would appear in the settlement to belong to Metzgar, which could be ascertained only by an action of account render or a bill in equity.
Judgment affirmed.
